            Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 1 of 21




             In the United States Court of Federal Claims
                                             No. 09-411C
                                      Filed: September 14, 2009
                                     Reissued: September 17, 2009*/



                                                  )
            PAI CORPORATION,                      )   Post-Award Bid Protest:              A
                                                  )   motion for a permanent injunction
                               Plaintiff,         )   will not be granted where the
                                                  )   contracting officer adequately
                          v.                      )   a d d re s s e d a n y p o t e n t i a l
                                                  )   organizational conflicts of
            THE UNITED STATES,                    )   interest and where plaintiff failed
                                                  )   to show that either the agency’s
                               Defendant,         )   inclusion of subcontractors in its
                                                  )   evaluation of corporate
            and                                   )   experience or the agency’s cost
                                                  )   realism analysis was arbitrary or
            INNOVATIVE                            )   capricious.
            TECHNOLOGY                            )
            PARTNERSHIPS, LLC,                    )
                                                  )   REDACTED VERSION
                           Defendant-             )
            Intervenor.



                  Cyrus E. Phillips IV, Arlington, Virginia, counsel for plaintiff.

            Jane C. Dempsey, with whom were Assistant Attorney General
       Tony West, Director Jeanne E. Davidson, and Assistant Director Martin

       */
          The court originally issued this order under seal on September 14, 2009, pursuant to the
protective order entered in this case on June 26, 2009. After a review of the redactions proposed by
the parties, the court is reissuing a redacted version of the order in conformance with the E-
Government Act of 2002.
 Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 2 of 21




F. Hockey, Jr., U.S. Department of Justice, Civil Division, Commercial
Litigation Branch, Washington, DC, counsel for defendant. Don
Crocket and Anh Nguyen, U.S. Department of Energy, of counsel.

      Richard J. Webber, Arent Fox LLP, Washington, DC, counsel for
defendant-intervenor. Lisa K. Miller and Kavitha J. Babu, of counsel.



                               OPINION

WIESE, Judge.

      Plaintiff, PAI Corporation, a disappointed bidder in a procurement
for nuclear-transport training support services, sues here to set aside the
award of a contract to Innovative Technology Partnerships, LLC
(“ITP”), the intervenor in this action, by the United States Department
of Energy (“DOE”). Plaintiff contends that DOE’s decision to award
the contract to ITP was arbitrary and capricious because DOE failed to
mitigate ITP’s allegedly unfair competitive advantage resulting from
ITP’s access to nonpublic information through its subcontractor
Wackenhut Services, Inc. (“Wackenhut”) and through its own
performance as the incumbent contractor for DOE’s Program Office of
Independent Oversight (“the POIO contract”). Plaintiff additionally
alleges that the award was arbitrary and capricious because DOE
impermissibly considered the corporate experience of the various
subcontractors and incorrectly evaluated plaintiff’s cost proposal.

       The case is now before the court on the parties’ cross-motions for
judgment on the administrative record. The parties have fully briefed
the issues and the court heard oral argument on August 26, 2009. At the
conclusion of the argument, the court announced a tentative ruling in
defendant’s favor but explained that it would further study the record in
light of the arguments presented before issuing a final decision. For the
reasons set forth below, we now affirm our earlier ruling and grant
defendant’s and defendant-intervenor’s cross-motions for judgment on
the administrative record.

                                    2
 Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 3 of 21




                                 FACTS

       DOE’s Office of Secure Transportation (“OST”), a division of
DOE’s National Nuclear Security Administration, is responsible for the
safe and secure transport of nuclear weapons, special nuclear materials,
and weapon components between production facilities and Department
of Defense facilities via ground and air transportation. In support of this
mission, DOE issued a solicitation on August 29, 2008, to provide
training support services to OST for a range of operational and
administrative activities. The solicitation called for an indefinite-
delivery, indefinite-quantity, cost-plus-award-fee type contract for a
base period of two years, with two 18-month option periods. The
guaranteed minimum under the contract was $3 million with an
estimated ceiling of $95 million. Although the incumbent contractor for
the support services contract, Wackenhut, was a large business concern,
DOE limited the instant procurement to small businesses.

       As part of the solicitation, offerors were instructed to submit a
cost proposal for three sample task orders to enable DOE to determine
whether the “proposed costs are reasonable, realistic, and reflect a clear
understanding of the solicitation requirements.” The first sample task
order directed offerors to “Conduct Agent Candidate Training for
[Calendar Year] 2009.” The second sample task order further instructed
offerors to “Support Operational Readiness Training for [Calendar Year]
2009.” The third sample task order provided offerors with three
different scenarios under the “Contractor Transportation and Utilization
Program” and required offerors to provide personnel to move vehicles
between OST facilities. Offerors were directed to price each of the
sample task orders separately and to include estimated direct productive
labor hours, direct labor rates, indirect rates, travel and other direct
costs, and an award fee as part of their cost proposal.

      The solicitation provided that a cost realism analysis would be
used to establish each offeror’s total probable cost for the best value
evaluation. The total probable cost was defined as the sum of the
probable cost for the three sample task orders and a total award fee.

                                    3
            Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 4 of 21




       Offerors were additionally informed that DOE, in conducting its cost
       realism analysis, might adjust an offeror’s proposed costs to reflect any
       additions or reductions in cost elements to realistic levels.2/

              The solicitation contained a Source Evaluation Plan setting forth
       the procedures for DOE’s evaluation of proposals. Pursuant to these
       procedures, DOE established an Integrated Project Team consisting of
       the contracting officer, a technical representative, and a legal advisor,
       who in turn were supported by technical advisors, business advisors, and
       “ex-officio” members. Under the Source Evaluation Plan, the technical
       representative was charged with evaluating the proposals with respect
       to their technical approach, key personnel, corporate experience, and
       past performance, including identifying strengths, weaknesses,
       deficiencies, and risks in each of those areas. The contracting officer
       was in turn given responsibility for evaluating each offeror’s cost
       proposal, including conducting a cost realism analysis for each bid.
       Following the Project Team’s evaluation, the technical representative
       was required to brief the contracting officer and the Source Selection
       Authority on the results of the evaluation without making any
       recommendation for award.

              On July 30, 2008, one month before the issuance of the
       solicitation, DOE launched the OST Support Services Contract website
       which provided links titled “Reading Room,” “Questions and Answers,”
       and “Miscellaneous.” Through these links, offerors could obtain
       information about the upcoming OST support services procurement. In
       “Reading Room,” DOE publicly released the existing OST support
       services contract being performed by Wackenhut, including the
       contract’s Performance Work Statement. In addition, the “Reading
       Room” link also provided documents and information from DOE’s
       Industry Day conference, including the attendance roster, the briefing

       2/
           As explained in its “Technical Evaluation of Cost,” DOE first developed a baseline for
staffing and other direct costs specific to each task order. This baseline was created using the expert
judgments of a technical representative and OST technical advisors who relied upon their direct
working knowledge of OST requirements applicable to the three sample task orders as well as
historical data. DOE used this baseline in the cost realism analysis as an objective standard against
which it could measure the realism of each offeror’s proposed costs.

                                                  4
 Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 5 of 21




packages explaining the OST command structure, mission, and logistics
and property management, documents addressing federal agent readiness
training in the areas of Agent Candidate Training and Operation
Readiness Training, and the results of a question-and-answer session.

       Nine offerors, including plaintiff and ITP, submitted timely
proposals. In its proposal, ITP indicated its intention to employ
Wackenhut—the incumbent contractor for the OST support services
contract—as a subcontractor. ITP further advised that it planned to
retain a number of Wackenhut’s key personnel for performance of the
contract.

      On December 17, 2008, after completing its evaluation of the
proposals, the Project Team documented its findings in a final
evaluation report and briefed the Source Selection Authority. On
December 22, 2008, the Source Selection Authority selected ITP as the
offeror that provided the best value to the government. The contract was
awarded to ITP on December 29, 2008.

       On December 31, 2008, Advanced Technologies and Laboratories
International, Inc. (“ATL”), another disappointed bidder, filed a protest
with the Small Business Administration challenging ITP’s financial and
managerial qualifications for the award and asserting that ITP’s
subcontractor, Wackenhut, was only an “ostensible” subcontractor in
that Wackenhut, rather than ITP, would be the business entity
principally responsible for the management and performance of the
contract. The protest was denied on January 28, 2009.

        On January 12, 2009, ATL also filed a protest with the
Government Accountability Office asserting that DOE: (1) had not
properly mitigated or disclosed organizational conflicts of interest
involving ITP, Wackenhut, and DOE prior to the beginning of the
procurement; (2) had incorrectly assessed ATL’s and ITP’s proposed
costs; and (3) had improperly evaluated ITP’s and ATL’s technical
proposals. In response to ATL’s protest, DOE agreed to take corrective
action to clarify and, where appropriate, resolve the alleged deficiencies
in its proposal evaluations. DOE further agreed to document its findings

                                    5
 Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 6 of 21




and issue a new source selection decision. Accordingly, on February 19,
2009, ATL withdrew its protest.

       As part of its corrective action, the Project Team reconvened and
reevaluated the proposals with respect to past performance and cost and
reconsidered potential organizational conflicts of interest issues. In
reevaluating past performance, the Project Team determined that no
additional current and relevant past performance information was
available for any of the offerors. Consequently, no changes were made
to the past performance ratings.

       In reevaluating cost, the Project Team reviewed the cost realism
analysis for each of the offerors in accordance with the solicitation and
the Source Evaluation Plan and developed a probable cost estimate for
each of the offerors based on the information provided in Volume II
(Technical and Management) and Volume III (Cost) of each proposal.
Beginning with plaintiff’s proposal, the Project Team determined that
plaintiff’s proposed labor categories and skill mix were consistent with
its technical approach, but concluded that plaintiff’s overall quantity of
hours was low and failed to include all necessary labor categories. The
Project Team accordingly added five new labor categories and
[redacted] direct labor hours to plaintiff’s proposal, thereby increasing
plaintiff’s direct labor hours from [redacted] to [redacted]. In
addition, the Project Team determined that it was necessary to increase
plaintiff’s proposed labor rates in certain labor categories (in the areas
of Property Specialist, Munitions Specialist, and Armorer) to meet the
minimum wage rates set by the U.S. Department of Labor. The Project
Team thus increased plaintiff’s proposed cost of $4,937,720 by
$1,004,607, establishing a total probable cost of $5,942,327.

        The Project Team made similar adjustments to ITP’s proposal.
Recognizing that ITP intended to hire individuals from Wackenhut’s
staff, the Project Team increased ITP’s proposed direct labor rates to
reflect the current average labor rates by labor category. In addition, the
Project Team increased ITP’s proposed direct labor hours by [redacted]
(from [redacted] to [redacted]) to account for a shortage of labor hours
in certain labor categories (in the areas of Instructor, Opposition Force,

                                    6
            Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 7 of 21




       Instructional Systems Designer, Logistics and Property, Munitions,
       Armorers, and Controller). Finally, the Project Team increased ITP’s
       proposed labor hours for the Wackenhut subcontract by [redacted]
       (from [redacted] to [redacted]). The Project Team thus increased ITP’s
       proposed cost of $2,372,422 by $1,621,467, arriving at a total probable
       cost of $3,993,889.

              As a final step in the agency’s corrective action, the contracting
       officer performed a detailed analysis of the potential for organizational
       conflicts of interest in the procurement. Based on her analysis, the
       contracting officer determined that neither Wackenhut’s performance of
       the OST support services contract nor ITP’s performance of the POIO
       contract provided ITP with nonpubllic information that would give it a
       competitive advantage in the procurement.3/ The contracting officer
       thus concluded that no organizational conflicts of interest existed that
       would preclude an award of the contract to ITP.

             The Project Team documented its conclusions in a revised final
       evaluation report on May 19, 2009.4/ Following a June 4, 2009,


       3/
         At the time of the solicitation, ITP was serving as the incumbent contractor for DOE’s
Program Office of Independent Oversight—an audits/assessments contract that required ITP to
oversee and review the performance of other OST contractors.
       4/
            The revised report contained the following overall evaluation results:

 Evaluation Criteria                           ITP                                 PAI
                                  Adjectival      Score/           Adjectival          Score/
                                  Rating          Percentage       Rating              Percentage
 Technical Approach               Good            270/90%          Satisfactory        240/80%
 Key Personnel                    Excellent       282/94%          Excellent           279/93%
 Corporate Experience             Excellent       300/100%         Good                261/87%
 Past Performance                 Excellent       100/100%         Excellent           100/100%
 Total Score                      Excellent       952/95%          Good                880/88%
                                                                                  (continued...)

                                                  7
 Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 8 of 21




briefing, the Source Selection Authority selected ITP as the successful
offeror based on its best value to the government due to its highest
technical rating and lowest probable cost. The top four offerors were
ranked as follows:

      1.   Innovative Technology Partnerships, LLC
      2.   PAI Corporation
      3.   Technical Field Engineering, Inc.
      4.   Advanced Technologies and Laboratories International, Inc.

DOE notified ITP and the other offerors of the new source selection
decision on June 17, 2009, and thereafter concluded written debriefings.


      Plaintiff filed suit in this court on June 23, 2009. Plaintiff now
seeks a court order directing DOE to: (i) disqualify ITP from the award
of the support services contract; (ii) modify the pricing adjustments
DOE made to plaintiff’s proposal; and (iii) make a new source selection
from among the remaining offerors.

                             DISCUSSION

       This court’s bid protest jurisdiction is set forth at 28 U.S.C.
§ 1491(b)(1) (2006), which authorizes the court “to render judgment on
an action by an interested party objecting to a solicitation by a Federal
agency for bids or proposals for a proposed contract or to a proposed
award or the award of a contract or any alleged violation of statute or
regulation in connection with a procurement or a proposed
procurement.” The statute specifies that in addressing such an action,
the court “may award any relief that [it] considers proper, including
declaratory and injunctive relief,” § 1491(b)(2), and further directs that
“[i]n any action under this subsection, the court[] shall review the
agency’s decision pursuant to the standards set forth in [the
Administrative Procedures Act],” § 1491(b)(4). Under this standard of


      4/
       (...continued)


                                    8
 Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 9 of 21




review, a procuring agency’s decision must be upheld unless it is shown
to be without any reasonable basis in fact or is erroneous as a matter of
law. Impresa Construzioni Geom. Domenico Garufi v. United States,
238 F.3d 1324, 1332 (Fed. Cir. 2001).

       Plaintiff challenges the instant procurement on essentially three
grounds. First, plaintiff contends that DOE improperly handled the
potential conflict of interest inherent in ITP’s partnership with
Wackenhut and maintains that ITP should consequently be excluded
from the competition. Second, plaintiff asserts that DOE impermissibly
considered the corporate experience of subcontractors in evaluating the
proposals despite what plaintiff sees as the solicitation’s limitation of
that criterion to offerors. Third, plaintiff argues that DOE improperly
conducted its cost realism analysis by unreasonably increasing
plaintiff’s direct labor hours and by arbitrarily adjusting plaintiff’s labor
rates. We address these issues in turn below.

                                     A.

        Plaintiff’s primary argument is that the competitive integrity of
the procurement was compromised through ITP’s access to nonpublic
information which gave ITP an unfair advantage in the procurement. In
particular, plaintiff contends that ITP’s and Wackenhut’s roles as
incumbent contractors gave ITP inside information regarding how
Wackenhut and other contractors planned and performed particular OST
activities. In plaintiff’s view, such cost and staffing data provided ITP
with a clear advantage in responding to the sample task orders set forth
in the solicitation. Plaintiff thus argues that the procurement was tainted
by an organizational conflict of interest—specifically, unequal access to
information favoring a particular offerer—that now requires the court to
declare the award to ITP unlawful.

      The contracting officer addressed this very issue in a
memorandum titled “Organization Conflict of Interest Analysis” issued
on June 8, 2009, in response to ATL’s January 2009 protest before the
Government Accountability Office.        In her memorandum, the
contracting officer noted that she had reviewed each offeror’s

                                     9
        Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 10 of 21




       submissions regarding any potential organizational conflicts of interest
       (a certification was required as part of each proposal) and had
       determined that no significant potential conflict existed with respect to
       any offeror. Specifically, the contracting officer determined that
       although ITP and Wackenhut had access to nonpublic information
       through their existing contracts, such information had no competitive
       value in the instant procurement. With respect to ITP, the contracting
       officer found that the information to which it had access involved
       constantly changing requirements and thus was of little use as it was
       quickly outdated.5/ With respect to Wackenhut, the contracting officer
       similarly determined that the information to which it had access was not
       germane to the requirements addressed in the solicitation’s first two
       sample task orders and in the case of the third sample task order
       (relating to the contractor’s proposed transportation utilization program)
       had been effectively offset by other information disclosed in the
       solicitation.6/ The contracting officer further observed that both she and
       the technical representative regarded the information released by DOE


       5/
          The contracting officer additionally noted that ITP had installed a “firewall” between its
employees who were involved in OST operational readiness training and its senior management, so
that senior management was prevented from acquiring any information regarding the conduct of the
POIO contract or from exercising any influence over the ITP employees in their performance of that
contract.
       6/
           The contracting officer identified four nonpublic documents to which Wackenhut had
access as the incumbent contractor for the OST support services contract: the OST Playbook (an
assessment of OST federal agent performance), the OST Site Security Plan, the Contractor
Transportation Utilization Program Standard Operating Procedures, and the OST Lesson Plans. The
contracting officer concluded that neither the playbook nor the site security plan was competitively
useful, however, because neither contained any information that would be relevant to the three
sample task orders. The contracting officer additionally concluded that although the standard
operating procedures for the Contractor Transportation Utilization Program were relevant to the third
sample task order, that information had been effectively offset by the disclosure of OST’s Policy
Number 8.06B, which described the standards of conduct for contractors operating OST equipment
on over-the-road transportation. Finally, the contracting officer observed that security concerns
associated with the OST lesson plans precluded their release to any offeror, including to ITP by
Wackenhut. The contracting officer noted that Wackenhut had indeed complied with the security
restrictions in its contract with OST: “After further review of [Wackenhut’s] award fee reports, I
found no evidence to suggest that [Wackenhut] ever disclosed [the information contained in the OST
Lesson Plans] to any entity outside of [the National Nuclear Security Administration].”

                                                 10
Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 11 of 21




to be sufficient to guide offerors in preparing an effective technical
proposal. Based on the foregoing, the contracting officer concluded that
no organizational conflicts of interest existed that would preclude an
award to ITP for the support services contract.

       Plaintiff now urges the court to reject the contracting officer’s
conclusion on the grounds that: (1) the analysis should have been
conducted prior to the issuance of the solicitation and was therefore
untimely; (2) the remedial steps taken by the contracting officer to
address any potential conflicts of interest were not approved by the chief
of the contracting office and were thus unauthorized; and (3) the
existence of a conflict is clear on the face of ITP’s proposal. In support
of the first point, plaintiff asserts that the contracting officer is required
under the Federal Acquisition Regulations (“FAR”) to analyze planned
acquisitions in order to: “(1) [i]dentify and evaluate potential
organizational conflicts of interest as early in the acquisition process as
possible; and (2) [a]void, neutralize, or mitigate significant potential
conflicts before contract award.” 48 C.F.R. (FAR) § 9.504(a).
Compliance with the FAR, plaintiff maintains, would have required the
contracting officer to have undertaken her analysis more than a year
earlier than she did, i.e., by April 2008—the date when DOE first
became aware that ITP intended to partner with Wackenhut in
competing for the successor OST support services contract. Plaintiff
presumes that such an earlier intervention would have prompted
heightened attention to the likelihood of an organizational conflict of
interest.

       Plaintiff’s argument, however, ignores the fact that the contracting
officer did indeed act in a timely and comprehensive manner to address
any potential problems associated with ITP’s and Wackenhut’s
participation in the instant procurement. As the contracting officer
noted in her analysis, Global Engineering & Technology, Inc., a
potential bidder, had filed an agency-level protest in July 2008 (a date
that preceded the issuance of the solicitation), alleging unequal access
to information and thus an unfair competitive advantage to any offeror
that partnered with Wackenhut. In particular, Global Engineering
maintained that the solicitation, as then proposed, did not provide

                                     11
        Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 12 of 21




       sufficient information regarding the staffing levels necessary to support
       the sixteen task areas the offerors’ were directed to address in their
       technical proposals.7/

              In response to this concern, the contracting officer took a number
       of corrective steps, the most significant of which was to modify the
       required scope of the offerors’ technical proposals. The contracting
       officer explained this point in her analysis as follows:

               [I]n light of the [Global Engineering] protest, I
               fundamentally altered the solicitation requirements.
               Instead of requiring all offerors to propose on 15 of the 16
               [Performance Work Statement] Task Areas over a five year
               period of performance, as initially envisioned . . . offerors
               now only had to address three Sample Task Orders
               covering a 12 month period of performance or less. For
               example, Task Order 1 entitled “Conduct Agent Candidate
               Training (ACT),” set forth the performance objectives of
               ACT and specifically identified the applicable Task Areas.
               In this case, offerors were instructed to address seven Task
               Areas (Task Areas 1 through 7) as part of their technical
               approach for Task Order 1. For Task Order 2, entitled
               “Conduct Operational Readiness Training (ORT),” offerors
               were provided the performance objectives for ORT and
               instructed to address eight Task Areas (Task Areas 1
               through 7 and 9). For Task Order 3, not only did I provide
               offerors with very specific information for three fictitious
               transportation scenarios, I provided offerors information
               regarding the number of drivers and transportation assets

       7/
          The Performance Work Statement identified the 16 task areas as follows: (1) paramilitary
training programs support; (2) analysis, design, and development of training curricula and training
plans; (3) logistical support of OST programs; (4) property management; (5) equipment operators;
(6) munitions support; (7) armorer support; (8) mission related work; (9) shipping, receiving,
tagging, storage, and issuance of equipment and supplies; (10) contractor transportation and
utilization program; (11) quality assurance program; (12) safety program; (13) program and
management analysis; (14) resources and business management support; (15) fleet vehicle
management support; and (16) safeguards and security.

                                                12
Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 13 of 21




      needed to complete each scenario as well as trip duration
      and locations.

       In addition to narrowing the scope of the offerors’ technical
proposals, the contracting officer also provided offerors with a historical
twelve-month snapshot of the direct productive labor hours, by location,
for each of the solicitation’s task areas. Further, the contracting officer
provided offerors with an estimated training calendar for OST for the
twelve-month period from December 2008 to December 2009, and with
the Lesson Plan Master Listing which contained a detailed list of the
types of training that offerors would be expected to provide. Finally, the
contracting officer revised the solicitation to require all offerors to
certify as part of their proposals that their participation in the
procurement did not give rise to any organizational conflicts of interest.
In light of these actions, plaintiff’s argument that the contracting officer
did not act in a timely manner to address concerns regarding unequal
access to competitively useful information is simply not correct.

       Nor can we accept plaintiff’s contention that the award to ITP is
unlawful because the contracting officer failed to obtain the requisite
authorization for the adjustments she made to the solicitation in light of
Global Engineering’s protest. In plaintiff’s view, the FAR requires that
any such adjustments be approved by a senior-level procurement
official. The regulation to which plaintiff refers reads as follows:

            (b) If the contracting officer decides that a particular
      acquisition involves a significant potential organizational
      conflict of interest, the contracting officer shall, before
      issuing the solicitation, submit for approval to the chief of
      the contracting office (unless a higher level official is
      designated by the agency)—
            (1) A written analysis, including a recommended
      course of action for avoiding, neutralizing, or mitigating
      the conflict . . . .

FAR § 9.506.



                                    13
        Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 14 of 21




              Plaintiff’s argument, which would apply the approval authority
       requirement of FAR § 9.506(b) to the adjustments the contracting officer
       made to the draft solicitation in June 2008, overreads the regulation.
       The focus of this regulation, as we read it, is on a solicitation that, as
       issued, would present significant potential organizational conflicts of
       interest unless remedial steps are undertaken to avoid, neutralize, or
       mitigate those conflicts. As the subsequent FAR provision makes clear,
       “potential organizational conflicts of interest are normally resolved by
       imposing some restraint, appropriate to the nature of the conflict, upon
       the contractor’s eligibility for future contracts or subcontracts.” FAR §
       9.507-1. In other words, it is the “corrective” restraints introduced into
       a solicitation to address potential organizational conflicts of interest that
       are the concern of FAR § 9.506(b), not substantive adjustments to the
       content of the solicitation before its final release.

              This is not the situation we face here. As the contracting officer
       explained in her analysis, she “took a number of steps to address
       potential [organizational conflicts of interest] during the pre-solicitation
       phase” and added that it is “worthwhile to note that the draft OST
       solicitation in June 2008 was significantly different than the final
       solicitation.” As to the final solicitation, the contracting officer
       “determined that no [organizational conflict of interest] exists . . . which
       would preclude an award to ITP.” FAR § 9.506(b) simply does not
       apply to the contracting officer’s actions.

              Turning then to the third and final argument in support its claim
       of unequal access to information, plaintiff challenges the contracting
       officer’s determination that no organizational conflicts of interest
       existed that would preclude an award to ITP. According to plaintiff, it
       is clear from the opening paragraph of ITP’s response to the first and
       second sample task orders that ITP had a significant advantage through
       its own and Wackenhut’s status as incumbent OST contractors.8/ This

       8/
          The opening paragraph of ITP’s response to Task Order 1, which is essentially identical
to the opening paragraph of its response to Task Order 2, reads as follows:

       Upon successful completion of transition, ITP will subcontract with [Wackenhut]
                                                                           (continued...)

                                               14
Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 15 of 21




paragraph, however, does nothing more than declare that ITP intends to
assign responsibility for the performance of the task orders to its
subcontractor, Wackenhut, and that Wackenhut, in turn, will engage the
services of individuals whose prior experience includes “all of the
functions associated with this [task order’s] requirements.” The
paragraph, in other words, contains nothing to support a claim of
unequal access to information.

       The fact that Wackenhut has performed activities identified in the
solicitation’s sample task orders and therefore can be expected to have
a more informed understanding of those activities than a first-time
contractor undoubtedly offers ITP some competitive advantage. But
such an advantage is the product of experience rather than the result of
having access to nonpublic information garnered from the government
through a special relationship. Under prevailing case law, only
information of the latter sort is regarded as yielding an unfair
competitive advantage that might taint a procurement; information that
draws upon a contractor’s own experience is not so regarded. This point
is well explained in ARINC Engineering Services, LLC v. United States,
77 Fed. Cl. 196, 203–204 (2007), as follows:

       [F]or an organizational conflict of interest to exist based
       upon unequal information, there must be something more
       than mere incumbency, that is, indication that: (i) the
       awardee was so embedded in the agency as to provide it
       with insight into the agency’s operations beyond that
       which would be expected of a typical government


       8/
          (...continued)
who will employ Mr. Scott Taylor, the current Assistant General Manager for
Training, as the Training Program Manager. Mr. Taylor has performed all functions
associated with this activity for the past two years and will be the Task Manager for
this [task order]. Also, upon contract award and successful completion of transition,
ITP will hire the current Assistant General Manager for Logistics, Mr. James (Eddie)
Gordon, as the Logistics Program Manager. Mr. Gordon has performed all of the
functions associated with this [task order’s] requirements for the incumbent,
[Wackenhut], since January of 2008 . . . . Mr. Gordon will support the [task order]
Manager, Mr. Taylor for this effort.

                                         15
Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 16 of 21




      contractor; (ii) the awardee had obtained materials related
      to the specifications or statement of work for the instant
      procurement; or (iii) some other “preferred treatment or . .
      . agency action” has occurred.

(Footnotes omitted.) Plainly, the instant case does not involve
nonpublic information within the meaning of the organizational conflict
of interest rules.

                                    B.

       Plaintiff’s second objection to the procurement is that DOE erred
by considering the corporate experience of subcontractors in evaluating
the proposals, thereby awarding ITP an “Excellent” rating for that
criterion due in part to Wackenhut’s successful prior performance
history. Plaintiff contends that under the terms of the solicitation,
information detailing corporate experience was to be submitted by each
“offeror”—a term which, according to plaintiff, is defined in the
solicitation as “the single legal entity submitting the offer.” Thus, in
plaintiff’s view, DOE should have considered only ITP’s corporate
experience and not also the corporate experience of Wackenhut.

       Plaintiff’s argument is without merit. Section L of the
solicitation, titled “Instructions, Conditions, and Notices to Offerors,”
defines the term “offeror” as follows:

      The term “Offeror” as used in this Section L refers to the
      single legal entity submitting the offer as a “Contractor
      team arrangement” as that term is defined in FAR 9.601.
      The Offeror may be preexisting or newly formed for the
      purposes of competing for this Contract.

In the following paragraph, the solicitation employs this definition of the
term “offeror” in the context of the solicitation’s corporate experience
and past performance criteria:




                                    16
Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 17 of 21




      The Offeror shall submit information on Corporate
      Experience and past performance . . . of all those
      companies comprising its “Contractor team arrangement”
      that will perform major or critical aspects of the
      Performance Work Statement (PWS) Task Areas . . . .
The term “contractor team arrangement” is in turn defined in FAR §
9.601 as an arrangement in which:

             (1) Two or more companies form a partnership or
      joint venture to act as a potential prime contractor; or
             (2) A potential prime contractor agrees with one or
      more other companies to have them act as its
      subcontractors under a specified Government contract or
      acquisition program.

Based on these provisions, the court can discern no basis for concluding
that DOE erred in considering ITP’s experience to include the relevant
past experience of its subcontractor Wackenhut. Plaintiff has offered no
plausible argument to the contrary.

                                   C.

       In its third and final ground for challenging the contract award,
plaintiff asserts that DOE’s cost realism analysis was arbitrary and
capricious because the contracting officer: (1) arbitrarily increased
plaintiff’s cost proposal by [redacted] direct labor hours, essentially
adding eleven full-time equivalent personnel despite the technical
representative’s finding that plaintiff had omitted only five direct labor
categories and despite the fact that plaintiff’s direct labor hours as
originally proposed were virtually identical to ITP’s ([redacted]
vs.[redacted]); and (2) failed to adjust plaintiff’s proposed cost
downward in certain labor categories to reflect minimum wage rates set
by the U.S. Department of Labor, despite having adjusted the proposed
cost upward in other labor categories in accordance with those same




                                   17
         Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 18 of 21




        minimum wage rates.9/ Plaintiff requests that the court direct that DOE,
        in reevaluating the proposals, consider plaintiff’s proposal as it was
        initially submitted (i.e., with [redacted] direct labor hours rather than
        the adjusted [redacted]) and account for the minimum wage rates set by
        the U.S. Department of Labor with the appropriate downward cost
        adjustment. Plaintiff identifies that amount as $214,000.10/

              In assessing the reasonableness of DOE’s cost realism analysis,
        we begin with the principle that “[d]ecisions on cost realism are within
        the agency’s sound discretion and expertise” and will not be overturned


        9/
          In its initial brief, plaintiff offered a third basis for its assertion that DOE’s cost realism
analysis was arbitrary and capricious. Specifically, plaintiff noted that the technical representative
had found that plaintiff’s responses to the first and second sample task orders failed to account for
manning the OST Exercise Control Center when conducting training exercises. Plaintiff argued,
however, that the technical representative’s assessment was predicated on a “clarification” that did
not appear in the Administrative Record and that required nonpublic knowledge of Wackenhut’s
support staffing—i.e., that plaintiff had failed to propose sufficient staffing for the Exercise Control
Center because it was not provided with the requisite information in the procurement to do so.

        As defendant observed in its cross-motion, however, all offerors, including plaintiff, were
directly notified of the Exercise Control Center’s manning requirements in Section 6.1.2.6 of the
Performance Work Statement, which stated that “[t]he contractor shall provide support for the
operation of the Exercise Control Center (ECC) fixed site at [Transportation Safeguards Training
Site] and mobile sites, as required.” In addition, defendant pointed out that DOE clarified this
requirement during the solicitation’s question-and-answer session as follows:

        Question: Operational support for Exercise Control Center (ECC) fixed and mobile
        site. Can the government provide the staffing criteria for the ECCs?

        Response: Typically two people man the ECC whenever on site or off site training
        is being conducted.

We thus conclude that plaintiff’s argument on this point is without merit.
        10/
           In calculating that amount, plaintiff explains that it proposed a total of 32,000 direct labor
hours in three labor categories for which it had overstated labor rates (i.e., an overstatement of $6.21
per hour for the position of Administrative Assistant, an overstatement of $3.67 per hour for the
position of Tactic Trainer, and an overstatement of $3.67 per hour for the position of Controller &
Range Safety Officer) and marked-up these direct labor hours with a multiplier of [redacted].


                                                   18
Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 19 of 21




if they “reflect that the agency took into account the information
available and did not make irrational assumptions or critical
miscalculations.” Halter Marine, Inc. v. United States, 56 Fed. Cl. 144,
172 (2003). Applying this standard, we are unable to conclude that
DOE’s cost realism analysis was either arbitrary or capricious. In
making probable cost adjustments, DOE employed the following
process:

      1. When a unique technical approach was presented, the
         Project Team utilized the technical representative’s
         expert judgment to adjust an offeror’s proposed
         staffing or other direct costs to reflect any additions or
         reductions to realistic levels necessary to accomplish
         the unique technical approach.

      2. In the absence of a unique technical approach or other
         evidence explaining the sufficiency of the proposed
         direct productive labor hours, the Project Team
         adjusted an offeror’s staffing or other direct costs
         based on the technical representative’s expert judgment
         and/or the government’s baseline.

      3. In the event that an offeror did not address a certain
         requirement or labor category in its cost proposal, the
         Project Team adjusted the offeror’s direct productive
         labor hours or other direct costs based on the offeror’s
         overall approach to fulfilling the task order
         requirements (e.g., Can a comparable labor category
         with sufficient direct productive labor hours be used to
         fulfill the requirement?), the technical representative’s
         expert judgment, and/or the government’s baseline.

The record indicates that the Project Team’s addition of [redacted]
direct labor hours to plaintiff’s cost proposal was the result of the
Project Team’s careful analysis using the process described above. In
particular, the Project Team determined that plaintiff failed to propose
any direct labor hours for the following necessary labor categories:

                                   19
        Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 20 of 21




       Opposition Force, Exercise Control Center Operator, Instructional
       Systems Designer,
       Planning Specialist, and Logistics Carpenter. Plaintiff has failed to
       identify any fault with that analysis11/ and we can find none.

              Plaintiff’s second challenge to DOE’s cost realism analysis is
       equally unavailing. DOE increased plaintiff’s proposed costs in the
       labor categories for which plaintiff offered less than minimum wage
       rates based upon the clear requirements provided in the solicitation. The
       solicitation expressly informed offerors, for example, that they were
       required to comply with the wage requirements of the U.S. Department
       of Labor. Additionally, the solicitation incorporated FAR § 52.222-41,
       a provision which implemented the Service Contract Act of 1965, 41
       U.S.C. §§ 351 et seq. (2006) by requiring that each service employee
       employed in the performance of the contract “be paid not less than the
       minimum monetary wages and . . . be furnished fringe benefits in
       accordance with the wages and fringe benefits determined by the
       Secretary of Labor.” The solicitation did not, however, prohibit an
       offeror from proposing labor wage rates above the minimum wage.
       DOE accordingly had no basis to reduce costs offered by plaintiff in
       excess of the minimum wage rates.

              Nor would the downward adjustment to its cost proposal that
       plaintiff seeks ultimately affect the resolution of this case. Even
       assuming that DOE had committed some error with respect to its cost
       realism analysis, plaintiff’s protest would nevertheless fail because
       plaintiff cannot demonstrate a necessary element for obtaining
       injunctive relief: a showing that “there was a substantial chance it would


       11/
           Plaintiff’s observation that it proposed virtually the same number of direct labor hours as
ITP does not, as plaintiff maintains, confirm the reasonableness of plaintiff’s staffing. As an initial
matter, the technical representative evaluated the reasonableness of an offeror’s proposed staffing
based not on a comparison with the proposals of other offerors, but on a comparison with the
agency’s internally formulated baseline and on an assessment of how well the offeror’s proposed
staffing fit with the offeror’s own technical approach. In addition, plaintiff is mistaken in its
assertion that ITP’s proposed labor hours were not subject to adjustment; the agency added
[redacted] direct labor hours to ITP’s proposal. The fact that plaintiff and ITP initially proposed
a similar number of direct labor hours is thus irrelevant to the analysis.

                                                  20
Case 1:09-cv-00411-JPW Document 36 Filed 09/18/09 Page 21 of 21




have received the contract but for that error.” Four Points by Sheraton
v. United States, 66 Fed. Cl. 776, 783 (2005). The solicitation provided
that an offeror’s technical approach to the sample task orders, key
personnel, corporate experience, and past performance were
significantly more important than cost. In its decision, the Source
Selection Authority explained the selection of ITP as follows:

      While I believe that ITP’s superior technical proposal
      would be worth the premium of a much higher cost, the
      fact that ITP offers the lowest probable cost makes its
      selection an easy choice. Even if I were to compare ITP’s
      probable costs against all other Offerors’ proposed costs,
      without any probable cost adjustments, ITP would still be
      the highest technically rated Offeror and, with the
      exception of [Technical Field Engineering, Inc.], have the
      lowest cost. For these reasons, I find that ITP’s proposal
      offers the best value to the Government, and I select ITP
      for award.

       In addition, the downward adjustment plaintiff seeks would result
in a decrease, by plaintiff’s own calculation, of $214,000. But plaintiff’s
proposed cost of $4,937,720, even without adjustments, is almost $1
million more than ITP’s total probable cost, with DOE adjustments, of
$3,993,889. Plaintiff, in other words, would not have been awarded the
contract regardless of whether its proposed costs remained unaltered.

                            CONCLUSION

       For the reasons set forth above, plaintiff’s motion for injunctive
relief is denied and defendant’s and defendant-intervenor’s cross-
motions for judgment on the administrative record are granted.
Accordingly, the clerk is directed to enter judgment dismissing
plaintiff’s complaint.

                                                 s/John P. Wiese
                                               John P. Wiese
                                               Judge

                                    21
